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13
                             UNITED STATES DISTRICT COURT
14                         NORTHERN DISTRICT OF CALIFORNIA
                                   SAN JOSE DIVISION
15

16
     VLSI TECHNOLOGY, LLC,                  Case No. 5:17-cv-05671-BLF-NC
17
                              Plaintiff,    INTEL CORPORATION’S MEMORANDUM
18
          v.                                OF POINTS AND AUTHORITIES IN
19                                          SUPPORT OF ITS OMNIBUS MOTION
     INTEL CORPORATION,                     FOR SUMMARY JUDGMENT
20
                              Defendant.
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 1   Exhibits

 2   The exhibits cited in the motion as “Ex. __” are attached to the Declaration of Mark Selwyn filed

 3   herewith.

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 1   I.       INTRODUCTION

 2            Intel respectfully requests summary judgment (1) of no infringement for the four asserted

 3   patents, U.S. Patent Nos. 8,566,836 (“’836 patent”), 8,004,922 (“’922 patent”), 7,675,806 (“’806

 4   patent”), and 8,268,672 (“’672 patent”), (2) of invalidity of the asserted claims for the ’922 patent,

 5   (3) that it is licensed to all asserted patents, and (4) of no willful infringement, no indirect infringement,

 6   and no enhanced damages for any patent.

 7   II.      LEGAL STANDARD

 8            Summary judgment is appropriate when there “is no genuine dispute as to any material fact

 9   and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see Anderson v.

10   Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). To defeat summary judgment, the nonmoving party

11   must come forward with “specific facts showing that there is a genuine issue for trial.” Matsushita

12   Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986) (emphasis omitted).

13   III.     INTEL IS ENTITLED TO SUMMARY JUDGMENT OF NO INFRINGEMENT OF

14            THE ’836 PATENT.

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26            A.     Technical Background And Asserted Claims

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21       B.    Intel’s Accused Products

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21       C.    Intel Is Entitled To Summary Judgment Of No Literal Infringement.

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11           D.    Intel Is Entitled To Summary Judgment Of No Infringement Under The DOE.

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17       E.    Intel Is Also Entitled To Summary Judgment Of No Infringement For The ’836

18             Patent Because Intel’s Testing Occurs Outside The United States.

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 7   IV.     INTEL IS ENTITLED TO SUMMARY JUDGMENT OF NO INFRINGEMENT OF

 8           THE ’922 PATENT.

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12   V.      INTEL IS ENTITLED TO SUMMARY JUDGMENT THAT THE ’922 ASSERTED

13           CLAIMS ARE INVALID AS INDEFINITE.

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11   VI.   INTEL IS ENTITLED TO SUMMARY JUDGMENT OF NO INFRINGEMENT OF

12         THE ’806 PATENT.

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19         A.   The Asserted Claims

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 1       B.    Intel’s Accused Products

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24       C.    Intel Is Entitled To Summary Judgment Of No Infringement.

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21   VII.   INTEL IS ENTITLED TO SUMMARY JUDGMENT OF NO INFRINGEMENT OF

22          THE ’672 PATENT.

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 8   IX.   INTEL   IS   ENTITLED      TO   SUMMARY   JUDGMENT      OF   NO   WILLFUL

 9         INFRINGEMENT, NO INDIRECT INFRINGEMENT, AND NO ENHANCED

10         DAMAGES.

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15         A.   The Court Should Grant Summary Judgment Of No Indirect Infringement And

16              No Willful Infringement.

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         Case No. 5:17-cv-05671-BLF-NC       22              INTEL’S OMNIBUS MOTION FOR
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14       B.    Intel Is Entitled To Summary Judgment Of No Enhanced Damages.

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     Case No. 5:17-cv-05671-BLF-NC         24                INTEL’S OMNIBUS MOTION FOR
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 1   X.      CONCLUSION

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 3
             Respectfully submitted,
 4
             Dated: August 24, 2023
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      Case No. 5:17-cv-05671-BLF-NC              25                   INTEL’S OMNIBUS MOTION FOR
                                                                               SUMMARY JUDGMENT
